   Case: 1:11-cv-07052 Document #: 43-1 Filed: 12/16/11 Page 1 of 2 PageID #:138




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MAURICE PATTERSON,                                    )
                                                      )
                              Plaintiff,              )
               vs.                                    )      No. 11 C 7052
                                                      )
CITY OF CHICAGO, et al.,                              )      Judge Kennelly
                                                      )
                              Defendants.             )

                                      NOTICE OF FILING

TO:    SEE ATTACHED SERVICE LIST


         PLEASE TAKE NOTICE that on this16th day of December, 2011, I caused to be
electronically filed with the Clerk of the United States District Court for the Northern District of
Illinois, Eastern Division, DEFENDANTS GARZA, AMATO, DAVIS, MYLES, FORBERG,
FOSTER, MICHAELS, NOLAN AND LEWIS’ ANSWER, DEFENSES AND JURY
DEMAND TO PLAINTIFF’S COMPLAINT, a copy of which is herewith served upon you.



                                 CERTIFICATE OF SERVICE

        I hereby certify that I have caused true and correct copies of the above and foregoing
Notice of Filing and Defendants Garza, Amato, Davis, Myles, Forberg, Foster, Michaels,
Nolan and Lewis’ Answer, Defenses and Jury Demand to Plaintiff’s Complaint to be sent
via the CM/ECF electronic filing system to the attorneys named above at the addresses therein
shown on this 16th day of December, 2011.



                                                      Respectfully submitted,


                                                      /s/ Joseph M. Polick
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(312) 744-8335
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